    Case 6:06-cv-00101-BAE-JEG Document 9 Filed 12/12/06 Page 1 of 3




                                                                             U.S . Di Tl~ ; "i"
                     IN THE UNITED STATES DISTRICT COURT                       S t
                    FOR THE SOUTHERN DISTRICT OF GEORGI A
                             STATESBORO DIVISION                             I0 DEC 12 A 11 :


JOHNNIE ODUM,

                     Plaintiff ,

       V.                                                 CIVIL ACTION NO. : CV606-10 1

BULLOCH COUNTY ; BULLOCH
COUNTY PUBLIC DEFENDER ,
and ATLANTIC PUBLIC DEFENDER
OFFICE,

                     Defendants .


                            MAGISTRATE JUDGE 'S ORDER
                                      AN D
                           REPORT AND RECOMMENDATION


       Plaintiff, an inmate presently incarcerated at Bryan County Jail in Pembroke,

Georgia, has filed a Complaint and an Amended Complaint pursuant to 42 U .S .C . § 1983

alleging certain violations of his constitutional rights . Plaintiff was granted leave of the

Court by Order dated November 7, 2006, to proceed in forma pauperis in this action .

       A prisoner proceeding in a civil action against officers or employees of government

entities must comply with the mandates of the Prison Litigation Reform Act ("PLRA"), 28

U .S .C . § 1915 . 28 U .S.C. § 1915(g) of the PLRA provides :

       In no event shall a prisoner bring a civil action or appeal a judgment in a civil
       action or proceeding under this section if the prisoner has, on 3 or more prior
       occasions, while incarcerated or detained in any facility, brought an action
       or appeal in a court of the United States that was dismissed on the grounds
       that it is frivolous, malicious, or fails to state a claim upon which relief may
       be granted, unless the prisoner is under imminent danger of serious physical
       injury.
    Case 6:06-cv-00101-BAE-JEG Document 9 Filed 12/12/06 Page 2 of 3




28 U .S .C . § 1915(g) . This provision of the PLRA "requires frequent filer prisoners to

prepay the entire filing fee before federal courts may consider their lawsuits and appeals ."

Rivera v . Allin , 144 F.3d 719, 723 (11th Cir. 1998) .

       A review of Plaintiff's history of filings reveals that he has brought at least three civil

actions or appeals which were dismissed and count as strikes under § 1915(g) : (1) Odum

v. City of Pembroke, et . al , CV406-79 (S .D. Ga. June 27, 2006) (dismissed for failure to

state a claim ) ; (2) Odum v. Bulloch County Public Defender's Office, et . al , CV606-45 (S .D .

Ga . June 12, 2006) (dismissed for failure to state a claim) ; and (3) Odum v . Bulloch

County, et . al , CV606-54 (S.D. Ga. Sep. 11, 2006) (dismissed for failure to state a claim) .

       The Eleventh Circuit upheld the constitutionality of section 1915(g) in Rivera . In so

doing, the Court concluded that section 1915(g) does not violate an inmate 's rights to

access to the courts, to due process of law, or to equal protection, or the doctrine of

separation of powers .    Rivera , 144 F .3d at 721-27 . Because Plaintiff has filed three

previously dismissed cases or appeals which qualify as strikes under section 1915(g),

Plaintiff may not proceed in forma pauperis in this action unless he can demonstrate that

he meets the "imminent danger of serious physical injury" exception to § 1915(g) .

       Plaintiff cannot claim that he should be excused from prepaying the filing fee

because of the "imminent danger of serious physical injury" exception to § 1915(g) . In

order to come within the imminent danger exception, the inmate must be in imminent

danger at the time he files suit in district court, not at the time of the alleged incident that

serves as the basis for the complaint. Medberry v. Butler, 185 F.3d 1189, 1193 (11th Cir .

1999). As noted by the Court, "a prisoner' s allegation that he faced imminent danger


                                                2
    Case 6:06-cv-00101-BAE-JEG Document 9 Filed 12/12/06 Page 3 of 3



sometime in the past is an insufficient basis to allow him to proceed in forma pauperis

pursuant to the imminent danger exception to the statute ." Id .

       In his Complaint, Plaintiff asserts his county public defender did not provide him with

adequate assistance of counsel . Because Plaintiff has not shown how he was in imminent

danger of serious physical injury at the time he filed his Complaint, he is not entitled to

proceed in forma pauperis and is required to pay the complete filing fee pursuant to §

1915(g). Accordingly, the Court VACATES its November 7, 2006, Order. Plaintiff's

request to proceed in forma pauperis is DENIED , and this case should be DISMISSED .

If Plaintiff wishes to proceed with this action, he should be required to resubmit his

complaint along with the full $350 .00 filing fee .
                                                                                    i
       SO ORDERED and REPORTED and RECOMMENDED , this                           / Z' day of

December, 2006 .




                                                      NITED STATES MAGISTRATE JUDG E




                                                3
